
916 S.W.2d 949 (1995)
In the Matter of J.G.
No. 95-1012.
Supreme Court of Texas.
December 22, 1995.
Gary L. White, Paris, for J.G.
J. Kerye Ashmore, Paris, for State.

ON APPLICATION FOR WRIT OF ERROR TO THE COURT OF APPEALS FOR THE SIXTH DISTRICT OF TEXAS
PER CURIAM.
J.G. seeks review by application for writ of error alleging the Juvenile Determinate Sentencing Statute is unconstitutional. See TEX. FAM.CODE §§ 53.045, 54.04, 54.11; TEX.HUM. RES.CODE § 61.079. J.G. did not bring any constitutional claims to the attention of the trial court. Before addressing the merits of the appeal, the court of appeals held that constitutional claims made by a juvenile are claims of fundamental error and may be raised for the first time on appeal. 905 S.W.2d 676, 680 n. 1. This Court neither approves nor disapproves of this language. The application for writ of error is denied.
